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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                  * MDL NO. 1873
       FORMALDEHYDE PRODUCTS                         *
       LIABILITY LITIGATION                          * SECTION “N” (5)
                                                     *
                                                     * JUDGE ENGELHARDT
                                                     * MAGISTRATE CHASEZ
                                                     *
THIS DOCUMENT IS RELATED TO:                         *
                                                     *
Parker v. American International Group, Inc. et al., *
EDLA Case No. 09-5996                                *
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL


       The Named Plaintiff in the above captioned matter, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby gives notice of his dismissal of claims without prejudice against

Defendants Shaw Environmental, Inc., and CH2M Hill Constructors, Inc., only. This dismissal

does not affect his claims against the remaining defendants.

                                     Respectfully submitted:
                                     GAINSBURGH, BENJAMIN, DAVID,
                                     MEUNIER & WARSHAUER, L.L.C.

                                     BY:     s/Gerald E. Meunier
                                             GERALD E. MEUNIER, #9471
                                             JUSTIN I. WOODS, #24713
                                             Gainsburgh, Benjamin, David, Meunier &
                                             Warshauer, L.L.C.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.

                                            s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471
